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                                                           FILED
                                                         June 28, 2022
                                                    CLERK, U.S. DISTRICT COURT
                                                    WESTERN DISTRICT OF TEXAS

                                                          Crystal Dunford
                                                 BY: ________________________________
                                                                         DEPUTY
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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                  AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Special Agent Eric Watkins, duly sworn do hereby depose and state:

1. Your affiant is a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives
   (ATF) since October 2018. Additionally, between April 2014 and October 2018 your affiant
   was a sworn ATF Task Force Officer, and therefore, since April 2014, your affiant has
   participated in investigations concerning violations of Titles 18, 21, and 26.

2. On Monday June 27, 2022 at approximately 6:00pm, San Antonio PD Officers responded to
   an industrial area in reference to deceased humans inside a semi-truck’s trailer; officers arrived
   and confirmed the presence of deceased individuals inside the trailer. Officers researched the
   Texas registration plate on the semi-truck and found a residence on the 100-block of Arnold
   Drive in San Antonio, Texas as the truck’s registered address with Texas motor vehicle
   records.

3. San Antonio PD Officers established surveillance on the residence (100-block of Arnold
   Drive) and observed a truck leave the residence occupied by a young Hispanic male. Officers
   stopped the truck and identified Juan Claudio D’LUNA-Mendez as the driver.

4. Officers obtained a search warrant for the residence on the 100-block of Arnold Drive based
   on information gained during a related, but separate, traffic stop. Upon successful service, the
   officers located an American Tactical Imports model Omni Hybrid, multi-caliber rifle with SN
   – NS117221, a German Sport Guns model GSG-5P, .22 caliber handgun with SN – A271841,
   and a Smith & Wesson model M&P 9 Shield M2.0, 9mm handgun with SN – JCD0475 in
   D’LUNA-Mendez’s bedroom.

5. Homeland Security Investigations Special Agents conducted a post-Miranda interview with
   D’LUNA-Mendez following the execution of the state search warrant. D’LUNA-Mendez
   admitted to possession of the three firearms in his bedroom. D’LUNA-Mendez also admitted
   to his immigration status in the United States as a Visa overstay.

6. An ATF Interstate Nexus examination revealed the firearms seized were not manufactured in
   the State of Texas, and therefore traveled in interstate and/or foreign commerce.

7. At SA Watkins’ request, federal immigration officials researched Juan Claudio D’LUNA-
   Mendez through immigration records and found D’LUNA-Mendez is a Citizen and National
   of Mexico residing illegally in the United States. D’LUNA-Mendez once possessed valid B-2
   Visa and did not return to Mexico upon expiration of the Visa.
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Based on the above facts, your affiant believes there is probable cause that D’LUNA-Mendez is
an illegal alien who possessed three firearms in violation of 18 U.S.C. §922(g)(5).
                                                                 Digitally signed by ERIC
                                          ERIC WATKINS WATKINS
                                                       Date: 2022.06.28 09:28:11 -05'00'


                                          Special Agent Eric Watkins
                                          Bureau of Alcohol, Tobacco, Firearms and
                                          Explosives



SUBSCRIBED AND SWORN TO ME THIS 28TH DAY OF JUNE 2022

                                          __________________________________
                                          HONORABLE ELIZABETH S. CHESTNEY
                                          UNITED STATES MAGISTRATE JUDGE
